March 17, 2006

Mr. Brandon T. Hurley
201 Main Street, Suite 2500
Fort Worth, TX 76102

Mr. R. H. Wallace Jr.
777 Main Street, Suite 3800
Fort Worth, TX 76102

Mr. Wade Caven Crosnoe
701 Brazos, Suite 1500
Austin, TX 78701

Mr. William L. Kirkman
201 Main Street, Suite 1400
Fort Worth, TX 76102-3118

Mr. David F. Farris
777 Main Street, Suite 1920
Fort Worth, TX 76102

Mr. Ralph H. Duggins
801 Cherry Street, Suite 2100
Fort Worth, TX 76102-6881

Mr. Walker C. Friedman
604 East 4th Street, Suite 200
Fort Worth, TX 76102

Mr. John L. Malesovas
P.O. Box 1709
Waco, TX 76703-1709
RE:   Case Number:  04-0165
      Court of Appeals Number:  02-03-00307-CV
      Trial Court Number:  067-186659-01
Style:      IN RE  WILLIAM PERRY CRONIN

Dear Counsel:

      Pursuant to Texas Rule of Appellate Procedure 52.8(c), without hearing
oral argument, the Court conditionally granted  the  petition  for  writ  of
mandamus and issued the enclosed per curiam opinion in the  above-referenced
cause.  The Motion for Temporary Relief is dismissed as moot.
                                       Sincerely,
                                       [pic]
                                       Andrew Weber, Clerk
                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Ms. Stephanie Lavake    |
|   |Mr. Thomas A. Wilder    |
|   |Honorable Donald J.     |
|   |Cosby                   |
|   |The Honorable James A.  |
|   |Baker                   |
|   |Mr. Donald H. Ray       |

